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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION


TANIA MURRAY,                                §
(aka TANIA GUZMAN) Individually              §
And Derivatively On Behalf Of                §
TGAG REAL ESTATE                             §
PROPERTIES, LLC,                             §
Plaintiff,                                   §
                                             §
v.                                           §                  2:21-CV-50
                                                     CAUSE NO.: _________________
                                             §       A CIVIL ACTION
DAVID ACOSTA, KELLER                         §
WILLIAMS REALTY HOLLYWOOD                    §
HILLS,                                       §
FIRST CAPITAL TRUST DEEDS,                   §
5 ARCH FUNDING CORP., and                    §
CHUCK HASZ ENTERPRISES, INC.,                §
Defendants.                                  §


                           PLAINTIFF’S ORIGINAL COMPLAINT


               Plaintiff, TANIA MURRAY aka TANIA GUZMAN individually and derivatively

on behalf of TGAG Real Estate Properties, LLC, by and through her undersigned Counsel, Randolph

J. Ortega and Gabriel S. Perez, hereby file this Complaint and states as follows:

                            PRELIMINARY STATEMENT

       1.      This lawsuit arises out of a real estate contract for property located at 920 Superba

Ave. in Venice CA, herein referred to as “the Property”. Plaintiff was solicited by Defendant, David

Acosta to invest in The Property for the purposes of “flipping”, (renovating real property and then

selling for substantial profits). Over the span of a couple of years beginning in the fall of 2019,

Plaintiff began to suspect that Defendant, David Acosta, had orchestrated an elaborate scheme to

defraud Plaintiff of hundreds of thousands of dollars. In the Spring of 2020, Plaintiff’s fears were

confirmed when she was finally able to obtain a certificate of occupancy for the property she
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purchased. Defendant David Acosta had worked in concert with the other Defendants to conceal the

appropriation of over $375,000.00 dollars as of the date of this filing. In addition to fraudulent

transfers by Defendant David Acosta, Plaintiff was made to incur tangential damages relating from

the refinancing and remedial payments needed to get the subject property ready for a short sale so

that the Plaintiff could mitigate her damages.

        The lawsuit seeks damages for: (1) Civil Conspiracy, (2) Breach of Fiduciary Duty, (3)

Negligent Supervision/Due Diligence (4), Fraud and (5) Negligence.

                              JURISDICTION AND VENUE

        2.      This Court has jurisdiction over Plaintiff’s federal claims pursuant to 28 U.S.C.

section 1332(a)(1), et. Seq. This Court has supplementary jurisdiction over Plaintiff’s state law

claims pursuant to 28 U.S.C. 1367.

        3.      Venue is proper is this judicial district pursuant to 28 U.S.C. section 1391(b)

because the events giving rise to Plaintiff’s claims, the execution of the contract and omissions, occurred

in the Western District of Texas, and pursuant to 18 U.S.C. section 1965.

                                           PARTIES

        4.      Plaintiff, Tania Murray aka Tania Guzman, is a resident of El Paso, Texas, located

within the Western District of Texas, and is the Managing Member of the entity of the Texas Limited

Liability Company named TGAG Real Estate properties, LLC.

        5.      Defendant, David Acosta, is a resident of El Paso, Texas, located in the Western

District of Texas, and can be served with process at his place of business, David Acosta Real Estate

Group, 6006 N. Mesa suite 110, El Paso, Texas 79912.

        6.      Defendant, Keller Williams Realty Hollywood Hills, is a California corporation that

has availed itself through its agent, David Acosta, to the jurisdiction of the Western District of Texas
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and may be served at its place of business 9000 W. Sunset Blvd., suite 1100, West Hollywood,

California, 90069.

       7.      Defendant, First Capital Trust Deeds, is a California financial institution that has

availed itself to the jurisdiction of the Western District of Texas through the execution of this

contract with Plaintiff and Defendant, David Acosta, and can be served with process at its principal

place of business located at 1904 Harbor Blvd #524, Costa Mesa, California 92627.

       8.      Defendant 5 Arch Funding Corp is a California financial institution that has availed

itself to the jurisdiction of the Western District of Texas through the execution of this contract with

Plaintiff and Defendant, David Acosta, and can be served with process at its principal place of

business located at 19800 Macarthur Blvd suite 1150, Irvine, California 92612-8445.

       9.      Defendant Chuck Hasz Enterprises, Inc. is a California corporation and fiduciary that

has availed itself to the jurisdiction of the Western District of Texas through the execution of this

contract with Plaintiff and Defendant, David Acosta, and can be served with process at its principal

place of business located at 20635 Ventura Blvd, Woodland Hills, California 91364.

                              CONDITIONS PRECEDENT

       10.     Plaintiff incorporates paragraphs 1 through 9 as plead herein.

       11.     Plaintiff affirms that she has duly complied with any and all conditions precedent

anterior to the filing of this Complaint, including mitigation of her damages.



                                STATEMENT OF FACTS

       12.     Plaintiff incorporates paragraphs 1 through 11 as plead herein.

       13.     Upon information and belief, beginning in the Summer of 2017, Defendant David

Acosta a realtor with Keller Williams, herein in referred to as Defendant Acosta, presented an
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investment opportunity to purchase a property located at 920 Superba Avenue in Venice, California

to Plaintiff. The plan was to purchase a distressed property, renovate it with funds from a

construction loan and sell for a profit. The Plaintiff, at the direction of Defendant Acosta, created an

limited liability company for this transaction named “TGAG Real Estate properties, LLC”.

        14.     Defendant Acosta directed, conspired, and confederated with Defendants 5 Arch

Funding, Inc., First Capital Trust Deeds and Chuck Hasz Enterprises to defraud Plaintiff by making

patently false representations about the status of progress payments and the construction on the

property located at 920 Superba Avenue.

        15.     At all times herein, Defendant Chuck Hasz Enterprises was the escrow manager for

the loan on the property at issue in this litigation.

        16.     At all times herein, Defendant 5 Arch Funding was the primary lender for the project

orchestrated by Defendant David Acosta.

        17.     At all times herein Defendant First Capital Trust Deeds was the broker for the loan

by and through its agent, Corey Kohnke.

        18.     The patently fraudulent acts of Defendant David Acosta and funding partners

establish a top to bottom civil conspiracy in that Defendant Acosta was passing fraudulent checks

that should have triggered internal alerts at any financial institution but were allowed to be

negotiated and resulted in the unjust enrichment of Defendant Acosta.

        19.     Plaintiff received copies of photoshopped checks in the summer of 2019 after being

alerted to the lack of progress payments to the contractors responsible for the renovation of the

property purchased. Defendant Acosta presented fake checks to the escrow manager and broker for

the project that were allegedly to Urban Green Development, the general contractor. The escrow

manager failed to follow-up with the payments or lack thereof and allowed Defendant Acosta to
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continue to defraud Plaintiff.

         20.   Plaintiff has suffered pecuniary loss totaling $990,436.30 and non-monetary losses

of reduction in her credit worthiness given the theft of monies and refinancing that resulted from the

delay.

                                       COUNT I
                                  CIVIL CONSPIRACY

         21.   The allegations of paragraphs 1 through 20 are incorporated herein by reference.

         22.   As described above, Defendants, David Acosta, Chuck Hasz Enterprises, 5 Arch

Funding, and First Capital Trust Deeds, acted in concert to assist David Acosta to fraudulently

acquire over $375,000.00 dollars from Plaintiff and other benefits by way of refinancing fees and

costs charged to the Plaintiff by the remaining financial institutional Defendants. The escrow

manager had a fiduciary duty to verify the progress payments to the general contractor, but

completely failed to do so, which indicates a common purpose and motive.

         23.   The acts and omissions by Defendants were the direct and proximate cause of the

pecuniary and non-financial injuries to Plaintiff.

                                    COUNT II
                            BREACH OF FIDUCIARY DUTY

         24.   The allegations of paragraphs 1 through 23 are incorporated herein by reference.

         25.   As described above, Defendants Chuck Hasz Enterprises, First Capital Trust Deeds

and 5 Arch Funding had a fiduciary relationship with the Plaintiff given the secure note contracted

for and funds deposited for the benefit of Plaintiff.

         26.   The elements of a cause of action for breach of fiduciary duty are the existence of

a fiduciary relationship, breach of fiduciary duty, and damages. See Premium Hospitality, L.L.C. v.

Astra Capital Funding, 2013 U.S. Dist. LEXIS 101217, *29, 2013 WL 3791495. Given the
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foregoing allegations contained within the preceding paragraphs, it is abundantly clear that the

Defendants breached the fiduciary relationship flowing to Plaintiff that resulted in the damages

incurred.

                                  COUNT III
                     FAILURE TO SUPERVISE/PERFORM DUE
                                 DILIGENCE

       27.     Plaintiff re-alleges paragraphs 1-26 as plead herein.

       28.     Defendant Keller Williams Realty Hollywood Hills had a responsibility to properly

supervise and oversee the work of its agent, Defendant David Acosta at all times pertinent herein.

       29.     As set forth in the factual recitation above, Defendant Keller Williams Realty

Hollywood Hills, failed to supervise Defendant Acosta, or was acting in concert with said Defendant

for a pecuniary benefit from their agent’s work.

       30.     The breach of the duty owed to Plaintiff is the direct and proximate cause of the

damages incurred by the Plaintiff.

                                        COUNT IV
                                         FRAUD

       31.     Plaintiff re-alleges paragraphs 1-30 as plead herein.

       32.     In order to prevail on the claim of Fraud, Plaintiff must prove that (i) the Defendants

made a false representation as to a past or existing fact (ii) which was material to the transaction,

(iii) the Defendants knew the representation to be false, (iv) and made the representation for the

purpose of inducing Plaintiff to take certain action, (v) Plaintiff reasonably relied upon the

representation, (vi) to its detriment. See Meyers v. Moody, 693 F.2d 1196, 1214 (5th Cir.1982), cert.

denied, 464 U.S. 920, 104 S. Ct. 287, 78 L. Ed. 2d 264 (1983); DeSantis v. Wackenhut Corp., 793

S.W.2d 670, 688 (Tex.1990), cert. denied, 498 U.S. 1048, 111 S. Ct. 755, 112 L. Ed. 2d 775 (1991);
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Kansa Reinsurance Co. v. Congressional Mortgage Corp., 20 F.3d 1362, 1375, 1994 U.S. App.

LEXIS 11859.

       33.     Plaintiff relied on multiple representations from Defendants David Acosta, Chuck

Hasz Enterprises, First Capital Trust Deeds in entering into the subsequent financing agreements

with 5 Arch Funding Corporation. Defendant Acosta negotiated fraudulent financial instruments to

Co-Defendants without being scrutinized thereby leading to the unjust enrichment of Defendant

Acosta along with the fees and costs cited above.

       34.     The fraudulent acts of Defendants were the direct and proximate cause of the

damages complained of herein.

                                       COUNT V
                                     NEGLIGENCE

       35.     Plaintiff re-alleges paragraphs 1-34 as plead herein.

       36.     Each and every Defendant, David Acosta, Keller Williams Realty Hollywood Hills,

5 Arch Funding Corporation, First Capital Trust Deeds and Chuck Hasz Enterprises owed a duty of

performing their duties in a normal and workmanlike manner to Plaintiff. The disturbing factual

history of this case clearly sets forth, at a minimum, the negligent actions and omissions of the

named Defendants in dealing with Plaintiff and in handling the funds on deposit for Plaintiff’s

benefit.

       37.     The negligent acts of Defendants were the direct and proximate cause of the damages

complained of herein.

                                         PRAYER

       38.     Plaintiff hereby prays that the Court issue citation, set this matter on the jury docket

and that judgment issue against all Defendants pursuant to proof.
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39.   Plaintiff hereby Demands Trial by Jury.




                                   Respectfully submitted,

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